











Opinion issued May 19, 2010
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-10-00256-CV




IN RE ARNOLD R. LOPEZ AND LISA GIL, Relators




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relators, Arnold R. Lopez and Lisa Gil,
challenge the trial court’s order granting an anti-suit injunction.                
We deny the petition for writ of mandamus. 
Per Curiam&nbsp;
&nbsp;
Panel consists of Justices Jennings, Hanks, and Bland.



